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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129

   ERIC COOMER, PhD.,

         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,

         Defendants


                                    EXHIBIT 4
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                                     14 September

         Joe Oltmann                                                 0 7.2K 8:02 A M

          A
          ••
             Joe Ol lmann 0
                 @joeoltmann
                                                                1m


          The FBI ralde<I Mike. My lawyers called me stati ng they
          are concerned the FBI will target me next. I wanted to
          laugh but my attorneys actually care about me, and
          they understand the stale of thi ngs with the evil we
          race. Yet there Is an Incredib le cal m that comes with
          the realization that the radical left are pani cking and
          God is winning. I'm headed to meet up with Mike. Pray
          for M ike, pray for our nation. Support MyPlllow and
          MyCoffee. You can use code CD21 or any other. But
          please support him.


          lilt 152                              Q
